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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BRIAN J. LYNGAAS, D.D.S.,              )
 P.L.L.C., individually and on behalf   )
 of all others similarly-situated,      )
                                        )
                                            Civil Action No. 20-2370
                      Plaintiff,        )
                                        )
                                            Hon. Nitza I. Quiñones Alejandro
              v.                        )
                                        )
                                            CLASS ACTION
 IQVIA, INC.,                           )
                                        )
                      Defendant.        )
                                        )

            PLAINTIFF’S REPLY MEMORANDUM IN SUPPORT
             OF MOTION TO REOPEN DEPOSITION (ECF 57)
        AND RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
                  FOR PROTECTIVE ORDER (ECF 64)

      Plaintiff Brian J. Lyngaas, D.D.S., P.L.L.C. (“Plaintiff”), by counsel, submits

this reply memorandum in support of its motion to reopen the deposition of Jordan

Ferguson (ECF 57) and in opposition to defendant IQVIA, Inc. (“Defendant”)’s motion

for protective order (ECF 64).

I.    Introduction.

      Plaintiff seeks leave to take a second deposition of Defendant’s former

employee for two separate but related reasons—(1) because Mr. Ferguson has

apparently recanted his earlier testimony in this matter, and (2) because he has made

public allegations of potentially unethical conduct by Defendant.

      Defendant’s opposition to the resumed testimony is based on two premises that

are either unproven or simply false.
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      First, Defendant makes an unsupported claim that a renewed deposition of Mr.

Ferguson might intrude on privileged matters. However, Defendant has submitted

no evidence to support any claim of privilege, and the evidence it did submit shows

otherwise. Defendant has submitted a declaration of its employee Mark Snyder—Mr.

Ferguson’s former supervisor—that shows that the communications about deposition

testimony were between Mr. Ferguson, a non-attorney, and another unidentified non-

attorney employee of Defendant. Whether Mr. Snyder was a party to all the

communications is unclear, but he is not an attorney, either. Mr. Snyder’s declaration

does not assert or imply that privileged matters were discussed in the

communications.

      Second, Defendant wrongly posits that the only basis for re-deposing Mr.

Ferguson is to find out how his earlier testimony has changed. However, as laid out

in Plaintiff’s motion, Plaintiff also seeks to inquire about Mr. Ferguson’s March 22,

2022 posting on his public LinkedIn account about potentially unethical conduct at

Defendant:




Mr. Snyder confirms in his declaration that he was Mr. Ferguson’s boss. ECF 63-3, ¶

2.




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      Plaintiff is entitled to take discovery to learn not only why Mr. Ferguson will

“not stand by” his deposition testimony, as Defendant’s counsel advised Plaintiff’s

counsel, because of “potential issues related to his deposition testimony in this

action,” according to Mr. Snyder’s declaration, but also to learn what activities Mr.

Ferguson undertook for IQVIA and Mr. Snyder that he is now questioning. To that

end, Plaintiff should be allowed to reopen Mr. Ferguson’s deposition and obtain

relevant documents from Defendant.

II.   Argument.

      A.     The Snyder Declaration does not support Defendant’s professed
             privilege concerns.

      Although Defendant claims that re-deposing Mr. Ferguson would potentially

intrude into matters of privilege or attorney work product, Defendant has submitted

no evidence to support that claim. To the extent Defendant is asserting privilege

claims, it is Defendant’s burden to establish the predicate for its claims. In re Flonase

Antitrust Litig., 723 F. Supp. 2d 761, 764 (E. D. Pa. 2010).

      The only evidence Defendant relies on is a declaration of Mark Snyder, Mr.

Ferguson’s former boss (ECF 63-3 (filed under seal)). However, Mr. Snyder’s

declaration does not establish that any privileged communications took place. Mr.

Snyder only describes communications between himself, Mr. Ferguson, and another

unnamed employee of Defendant, who is not asserted to have been a lawyer. ECF 63-

3, ¶¶ 4-5.                                                                           Mr.

Snyder does not claim that any privileged matters were discussed in any of those

communications with Mr. Ferguson, or that any attorney was involved. Accordingly,


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Defendant has not established any basis for privilege concerns as to Mr. Ferguson’s

termination or communications with Mr. Snyder.

      Mr. Snyder’s declaration is also vague as to the timing of the alleged

communications.

                                                                               Yet it was

not until over a month later on the evening of March 23, 2022, that Defendant brought

this to the attention of Plaintiff. ECF 57-3 at p. 6 of 21. That was late in the day after

Mr. Ferguson had posted his LinkedIn status. In light of Mr. Snyder’s new

information about the timing of Mr. Ferguson’s prior communications, it is now quite

evident that Defendant would never have advised Plaintiff of Mr. Ferguson’s

departure or his statements about his testimony except for his going public by posting

questions on social media.

      Finally, to the extent that Defendant is concerned about potential privilege

allegations with respect to Mr. Ferguson’s earlier communications with Defendant’s

counsel in connection with his deposition testimony, that is now fair game. A party is

entitled to examine a witness as to whether they were “coached” about their

testimony. In re Flonase Antitrust Litig., 723 F. Supp. 2d at 765-66, citing Geders v.

United States, 425 U.S. 80, 89 (1976). Given Mr. Ferguson’s apparent distancing

himself from his prior testimony, and his assertions about unethical conduct by his

boss, Plaintiff is entitled to inquire whether he was coached to give testimony in this

action that was other than the truth, the whole truth, and nothing but the truth.




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      B.     Plaintiff is entitled to question Mr. Ferguson about his LinkedIn post.

      Wholly apart from Mr. Ferguson’s apparent recantation of his deposition

testimony, Plaintiff is entitled to question Mr. Ferguson about his March 22, 2022

LinkedIn post: “What do you do when you[‘re] questioning if what you did for you[r]

boss was ethical.” ECF , 57-3 p. 3 of 21 at ¶¶ 4-5. Defendant’s submissions wholly

ignore Mr. Ferguson’s LinkedIn post and thus do not provide any reason not to reopen

the deposition on that issue.

      C.     The normal procedural safeguards are sufficient to protect Defendant’s
             interests, and Defendant’s burdensome “errata sheet” method would
             simply frustrate discovery of the truth.

      Defendant proposes in its motion for protective order that the Court should

compel Mr. Ferguson, who is not an attorney and is no longer Defendant’s employee,

to review his entire deposition transcript and submit new errata sheets showing how

he now would change his testimony. ECF 64. That is a cumbersome and questionable

process, and inadequate to allow Plaintiff the information it seeks.

      Having Mr. Ferguson submit new errata sheets is an inadequate starting point

because it ignores his LinkedIn post about questionable ethical conduct, and because

it does not address the question of why Mr. Ferguson is changing his testimony or not

standing by it. Under these circumstances, Plaintiff should be allowed to explore

those questions, and simply having Mr. Ferguson submit new errata sheets would

not only be a burden on him, but will also be insufficient to explore the topics.

      It is unclear legally what the effect of new errata sheets would be. EBC, Inc. v.

Clark Bldg. Sys., 618 F.3d 253 (3d Cir. 2010) (affirming district court’s suppression

of errata sheets that materially changed testimony); Agrizap, Inc. v. Woodstream

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Corp., 232 F.R.D. 491 n. 1 (collecting cases on whether or not errata sheet may be

used to change testimony substantively). However, such changes would not be a

substitute for a chance to examine Mr. Ferguson about why he is changing or

recanting the testimony, whether he was coached to give false or misleading

testimony, and what the implications of his new testimony are. The errata sheet

method also would not address his LinkedIn allegations of unethical conduct.

         The normal procedural safeguards are sufficient to protect Defendant’s

purported privilege concerns. First, as is the norm, Defendants can withhold

privileged documents from their document production and provide a log of what has

been withheld. Any disputes about privilege can be resolved, and frame how privilege

is dealt with at deposition. Second, when Mr. Ferguson is re-deposed, care will be

taken to establish the framework of any communications where Defendant asserts

privilege. If Defendant asserts privilege, a foundation can be laid as to the parties to

the communication, when it took place, and the general subject matter of the

communication, without disclosing the privileged substance. Any remaining dispute

can then be presented to the Court for resolution.

                                   CONCLUSION

         WHEREFORE, Plaintiff respectfully requests that the Court grant its motion

to reopen Mr. Ferguson’s deposition and deny Defendant’s motion for a protective

order.




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Dated: April 13, 2022                         Respectfully submitted,

                                              By: /s/ Jonathan B. Piper

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                            CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on April 13, 2022, he caused to be served

a true and correct copy of the foregoing on all counsel of record via the Court’s ECF

system.


                                       By: /s/ Jonathan B. Piper




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